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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION


PATRICIA SLACK, INDIVIDUALLY                      §
AND AS THE SURVIVING MOTHER                       §
OF CHARLES ROUNDTREE, JR.;                        §                 SA-18-CV-01117-JKP
TAYLOR SINGLETON, BERNICE                         §
ROUNDTREE, AS REPRESENTATIVE                      §
OF THE ESTATE OF CHARLES                          §
ROUNDTREE, JR., AND THE                           §
STATUTORY BENEFICIARIES, K.W.,                    §
THE SURVIVING SON OF CHARLES                      §
ROUNDTREE, JR., AND THROUGH HIS                   §
NEXT FRIEND, DIAJHANAE                            §
WILLIAMS, TAYLOR SINGLETON                        §
AND DAVANTE SNOWDEN;                              §
                                                  §
                   Plaintiffs,                    §
                                                  §
vs.                                               §
                                                  §
CITY OF SAN ANTONIO, TEXAS,                       §
STEVE CASANOVA, SAN ANTONIO                       §
POLICE OFFICER;                                   §
                                                  §
                   Defendants.                    §

                         FIFTH AMENDED SCHEDULING ORDER

       Before the Court in the above-styled cause of action is the parties’ Amended Motion to

Extend Deadlines in the Scheduling Order [#63] due to the COVID-19 Pandemic. The Court

will grant the motion.

       IT IS THEREFORE ORDERED that the parties’ Amended Motion to Extend

Deadlines in the Scheduling Order [#63] is GRANTED.

       IT IS FURTHER ORDERED that this Amended Scheduling Order is issued to control

the remaining course of this case:

       1. All parties asserting claims for relief shall file their designation of potential witnesses,

testifying experts, and proposed exhibits and shall serve on all parties, but not file, the materials


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required by Fed. R. Civ. P. 26(a)(2)(B) by December 16, 2020. Parties resisting claims for relief

shall file their designation of potential witnesses, testifying experts, and proposed exhibits and

shall serve on all parties, but not file, the materials required by Fed. R. Civ. P. 26(a)(2)(B) by

January 16, 2021. All designations of rebuttal experts shall be designated within 15 days of

receipt of the report of the opposing expert.

        2. An objection to the reliability of an expert’s proposed testimony under Federal Rule of

Evidence 702 shall be made by motion, specifically stating the basis for the objection and

identifying the objectionable testimony, within 30 days of receipt of the written report of the

expert’s proposed testimony, or within 30 days of the expert’s deposition, if a deposition is

taken, whichever is later.

        3. The parties shall complete all discovery on or before February 18, 2021. Counsel may

by agreement continue discovery beyond the deadline, but there will be no intervention by the

Court except in extraordinary circumstances, and no trial setting will be vacated because of

information obtained in post-deadline discovery.

        4. All dispositive motions as defined in Local Rule CV-7(c) shall be filed no later than

March 15, 2021. Dispositive motions as and responses to dispositive motions shall be limited to

20 pages in length. Replies, if any, shall be limited to 10 pages in length in accordance with

Local Rule CV-7(f).

        5. The parties shall mediate this case on or before February 1, 2021.

        6. The trial date will be determined at a later date by the Court. The parties shall consult

Local Rule CV-16(e)-(g) regarding matters to be filed in advance of trial. At the time the trial

date is set, the Court will also set the deadline for the filing of matters in advance of trial.




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IT IS SO ORDERED.

SIGNED this 2nd day of October, 2020.




                                  ELIZABETH S. ("BETSY") CHESTNEY
                                  UNITED STATES MAGISTRATE JUDGE




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